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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT
___________________________________
                                    )
BLACK VETERANS PROJECT and          )
NATIONAL VETERANS COUNCIL           )        Civil Action No. 3:21-cv-00935
FOR LEGAL REDRESS,                  )
                                    )        COMPLAINT
                  Plaintiffs,       )
                                    )
UNITED STATES DEPARTMENT OF         )
VETERANS AFFAIRS,                   )
                                    )
                  Defendant.        )        July 8, 2021
___________________________________ )

                                       INTRODUCTION

       Black Americans have fought and sacrificed for America’s freedom since this nation’s

founding. Crispus Attucks, a Black American, protested alongside other patriots against the

British, and became the first casualty of the Boston Massacre in 1770. Thousands of Black

Americans from every colony followed Attucks’ example. They joined the Continental Army and

state militias, and fought in every major battle of the war. The First Rhode Island Regiment, an

all-Black unit, fought in the Revolution’s final battle—the Battle of Yorktown—and broke through

British defenses to win the war. Since then, Black Americans have served with valor in every

conflict in the nation’s history, often hoping that military service would provide them the rights

and liberties long denied to them by their country.

       Despite their service, Black veterans have often faced severe race discrimination, not just

within the military, but also upon their transition back to civilian life, including in government

provision of health care and benefits to veterans. Congress established the U.S. Department of

Veterans Affairs (VA) to honor the nation’s sacred promise to care for those who have served, yet

the VA has consistently neglected and discriminated against Black veterans. Recent revelations



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regarding widespread discrimination across VA facilities highlight that the VA has failed to

address systemic racism and call into question whether VA has been fairly administering benefits

to Black veterans. VA has hidden its systemic racism and neglect from the public’s view for too

long, and has historically taken few steps to acknowledge and rectify the issue. Only by revealing

information about how Black veterans have been treated by the VA can the country start to address

the issue and work towards equal opportunity for all those who served in uniform.

       Plaintiffs Black Veterans Project (“BVP”) and the National Veterans Council for Legal

Redress (“NVCLR”) (collectively “Plaintiffs”) requested records from the VA pursuant to the

Freedom of Information Act (“FOIA”) that will shed light on the racial disparities across the VA

benefits system, specifically at the Veterans Benefits Administration (“VBA”), Veterans Health

Administration (“VHA”) and Board of Veterans’ Appeals (“BVA”). The VA disclosed some

records in response to Plaintiffs’ request, but in violation of the FOIA, it failed to conduct a

reasonable search and provide all the requested records. This action is brought under 5 U.S.C. §

552 for declaratory and injunctive relief to compel a reasonable search for records and timely

production of responsive, non-exempt records.

       If the VA continues to delay the production of these records, yet another generation of

Black veterans will face racially discriminatory barriers to accessing the full benefits they have

earned. The information requested will inform advocacy to redress the systemic racism that

prevents Black veterans from receiving the benefits they deserve. VA’s prompt, complete response

to BVP and NVCLR’s FOIA requests is necessary to bring this important information to light.

                                 JURISDICTION AND VENUE

       1.       This Court has jurisdiction over this matter pursuant to 5 U.S.C. § 522(a)(4)(B) and

28 U.S.C. §§ 1331 and 1361.



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       2.       Venue lies in this district under 5 U.S.C. § 552 (a)(4)(B) and 28 U.S.C. § 1391(e)(1)

as Plaintiff NVCLR is incorporated in Connecticut, has its principal place of business in New

Haven, CT, and no real property is involved in the action.

                                             PARTIES

       3.       Plaintiff BVP is an organization that advances research and storytelling to

understand the full history of the Black veteran experience in the United States, including racial

inequities across the military and veteran landscape. BVP draws on data to foster new research to

educate the public, elected officials, and military stakeholders on issues facing Black veterans.

BVP resides and has its principal place of business in Washington, D.C.

       4.       Plaintiff NVCLR is a Connecticut-based veterans service organization that has

served veterans in Connecticut since 1982. The organization operates a referral network to direct

veterans to legal assistance and social services, and also engages in legal and policy advocacy on

behalf of veterans. In addition to providing veterans with support in obtaining employment, meals,

clothing, transportation, and housing, NVCLR is focused on the issue of benefits access. The

organization advocated for years to ensure that all who served our country can secure crucial

benefits and compensation. NVCLR is headquartered in Connecticut and has its principal place of

business in New Haven, CT.

       5.       Defendant VA is the federal agency that administers the laws providing benefits

and other services to veterans, their dependents, and their beneficiaries. The VA includes the

agencies: VBA, VHA, and BVA. VA is an agency within the meaning of 5 U.S.C. § 552(f)(1).

                                    STATEMENT OF FACTS

                         The VA Discriminates Against Black Veterans

       6.       There are over two million living Black veterans in the United States.



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       7.       Black Americans have served in every branch of the military and in every conflict

since the American Revolution. Many served in uniform with the belief that it would provide them

greater liberties and rights. Black leaders like Frederick Douglass and W.E.B. Du Bois believed

that military service would help Black Americans attain the full citizenship they deserved.

       8.       The VA quotes President Abraham Lincoln in its motto to care for those “who shall

have borne the battle,” and their families and survivors. The veterans benefits system carries out

this mission to care for all those who served in uniform and their families. Among other things,

the VA provides disability compensation benefits to veterans with medical conditions incurred in,

caused by, or aggravated by their military service. These benefits are monthly, tax-free payments

that range from $133 to $3,400 depending on veterans’ disability rating. The VA assigns ratings

to veterans’ disabilities based on their severity.

       9.       The VA also provides education benefits, life insurance, mortgage assistance, and

other support to former service members who have returned to civilian life.

       10.      However, the federal government has historically discriminated against Black

veterans, who receive inferior benefits and unequal treatment from the VA.

       11.      The VA’s predecessor—the Veterans Administration—participated in barring

World War II Black veterans from fully accessing the Servicemen’s Readjustment Act of 1944,

commonly known as the “GI Bill.” After World War II, Black veterans were disproportionately

referred to unskilled or menial jobs, relegated to vocational schools rather than universities, and

denied mortgages. While the GI Bill uplifted families of white veterans with education and housing

benefits, Black veterans’ families suffered generationally from this disparate treatment. Hilary

Herbold, Never a Level Playing Field: Blacks and the GI Bill, 6 J. BLACKS HIGHER EDUC. 104,

104–06 (Winter 1994/1995).



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       12.     Black veterans continue to face disparities compared to non-Black veterans. They

face disparities in health and disability compensation claims outcomes—across all types of mental

and physical health conditions—within the VA. For example, a 2003 study of over 3,300 veterans

found that Black veterans were significantly less likely to be granted service connection for post-

traumatic stress disorder (PTSD) compared to non-Black veterans, even after adjusting for

differences. Maureen Murdoch et al., Racial Disparities in VA Service Connection for

Posttraumatic Stress Disorder Disability, 41 MED. CARE 536 (2003). This lack of service

connection prevents these veterans from accessing disability benefits.

       13.     The VA also provides health care benefits. The VHA, a unit of the VA, is the largest

integrated healthcare system in the nation, serving over 9 million veterans at 1,293 health care

facilities, 171 VA Medical Centers, and 1,112 outpatient sites.

       14.     Racial disparities between Black and white patients are a well-documented reality

in healthcare. Studies have found that racial and ethnic minorities receive lower-quality healthcare

compared to white patients, even when all other factors like insurance status, income, and age are

controlled. For example, compared to white patients with heart disease, Black patients with the

same condition are likelier to receive cheaper, older, and more conservative treatments, including

being discharged too early. Khiara M. Bridges, Implicit Bias and Racial Disparities in Health

Care, 43 HUM. RTS. MAG. 19, 19-20 (2018).

       15.     Disparities in healthcare are particularly striking in the treatment of pain, with

Black Americans systematically undertreated for pain relative to white Americans. Kelly M.

Hoffman et al., Racial Bias in Pain Assessment and Treatment Recommendations, and False

Beliefs About Biological Differences Between Blacks and Whites, 113 PROC. NAT’L ACAD. SCI.




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U.S. AM. 4296, 4296 (2016). Black Americans’ health conditions are frequently misdiagnosed,

underdiagnosed, and generally minimized.

       16.    There is no reason to believe that the VA’s healthcare system is immune from this

medical racism. In fact, several studies specifically examined the VA healthcare system and found

that healthcare disparities persist between Black and white patients even when controlling for

factors like economic status and outside insurance coverage.

       17.    For example, one study found that Black veterans are less likely to receive medical

procedures at the VA, such as cardiac catheterization, compared to white veterans who report the

same symptoms. Jeff Whittle et al., Racial Differences in the Use of Invasive Cardiovascular

Procedures in the Department of Veterans Affairs Medical System, 329 NEW ENGLAND J. MED.

621, 623 (1993). As a result, non-white veterans face worse intermediate health outcomes

compared to white veterans at the VA.

       18.    A significant proportion of Black veterans report perceived discrimination with the

VA, low perceived quality of care, and low satisfaction with their VA healthcare. Nathaniel

Rickles et al., Perceptions of Healthcare, Health Status, and Discrimination Among African-

American Veterans, 4. HEALTH DISPARITIES RES. & PRAC. 50, 50 (2020).

       19.    Recent accounts also demonstrate that the VA has failed to address systemic racism

at its facilities. For example, Black employees and veterans at the Kansas City VA Medical Center

have complained for years about a demeaning and discriminatory work environment, including

frequent use of racial slurs, jokes about lynching, and being disproportionately terminated and

denied promotion. Matt Evans, Protestors Calling for End to Racial Discrimination at Kansas

City   VA     Medical    Center,    KMBC       NEWS     (June    15,    2020)    (available    at




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https://www.kmbc.com/article/protesters-calling-for-end-to-racial-discrimination-at-kansas-city-

va-medical-center/32867533).

       20.     A nationwide survey of nearly 1,500 VA staff members by the American Federation

of Government Employees found that nearly eighty percent of VA workers believed that racism at

the VA was a moderate or serious problem, and more than half reported that they had witnessed

discrimination against veterans. Alex Horton, Most VA Workers See Racism Against Colleagues

and   Veterans,   Union    Survey Finds,      WASH. POST (Aug.          7,   2020) (available at

https://www.washingtonpost.com/national-security/2020/08/07/veterans-affairs-racism).

       21.     Racism at the VA was revealed even more clearly when it was discovered that

several BVA attorneys and administrative law judges – the individuals who decide whether a

particular veteran will receive benefits – participated in an email chain called the “Forum of Hate.”

The email chain contained years of racist, sexist, and homophobic slurs. Brian Flood, Attorneys in

‘Forum of Hate’ Email Chain Suspended Indefinitely, Bloomberg Law (June 26, 2020) (available

at https://news.bloomberglaw.com/us-law-week/attorneys-in-forum-of-hate-email-chain-susp

ended-indefinitely).

       22.     The VA has historically taken few steps to acknowledge discrimination in the

agency. For example, facing a congressionally-backed investigation by the Government

Accountability Office over its systemic racism in 2020, the then-VA Press Secretary called the

investigation “nothing more than a shameful attempt to besmirch the reputations of . . . employees

at VA,” ignoring that the investigation was initiated specifically because of employees’

complaints. Alex Horton, VA Will Be Investigated After ‘Staggering Accounts of Racism,’ Sen.

Warren Says, WASH. POST (Oct. 1, 2020) (available at https://www.washingtonpost.com/national-

security/2020/10/01/gao-racism-veterans-affairs).



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                                    Plaintiffs’ FOIA Requests

       23.     On February 22, 2021, Plaintiffs submitted FOIA requests via email to three VA

units: VBA, VHA and BVA. Copies are attached as Attachments A, B, and C, respectively.

                                           VBA Request

       24.     The next day, VBA acknowledged receipt of the FOIA request and assigned the

request the tracking number 21-03679-F. The VBA acknowledgment of receipt is included as

Attachment D.

       25.     Pursuant to 5 U.S.C. § 553 (a)(6)(A)(ii), VBA had twenty (20) business days from

February 22, 2021, to make a determination regarding Plaintiffs’ request, or until March 22, 2021.

       26.     On March 22, 2021, VBA exercised its statutory right to claim a one-time, ten-day

extension, 5 U.S.C. 552 § (a)(6)(B)(i)-(iii), thereby extending its deadline to April 5, 2021.

       27.     On April 1, 2021, VBA sent its first interim Initial Agency Decision (“IAD”) (copy

included as Attachment E). It referred Items 4 and 6 of the request to the BVA, and assigned it a

request tracking number of 21-04716-F. It issued a “no records” response for Item 15, and it stated

it would continue to search for records responsive to Items 1-3, 5, 7-14, and 16.

       28.     On April 24, 2021, Plaintiffs appealed VBA’s “no records” response for Item 15 in

VBA’s first IAD. On April 26, 2021, VBA acknowledged receipt of the appeal.

       29.     VBA provided a second Interim Agency Decision for Items 1-14 (including Items

4 and 6, after retracting the referral to BVA) on June 16, 2021, and referred its response for Item

16 to the Office of the Assistant Secretary for Human Resources and Administration (OASHR)

under the tracking number 21-06776-F (copy included as Attachment F).

       30.     VA’s deadline to respond in full to Item 16 was April 5, 2021; it has not done so.




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        31.    VBA has not responded to the Plaintiff’s appeal of its “no records” response for

Item 15. Pursuant to 5 U.S.C. § 552(a)(6)(A)(ii), VBA had 20 business days from April 24, 2021,

to respond to Plaintiffs’ appeal, or until May 21, 2021.

        32.    On July 7, 2021, Plaintiffs timely filed an administrative appeal of VBA’s response

to Items 1-14. The statutory deadline for VA to adjudicate this administrative appeal is August 4,

2021.

                                          VHA Request

        33.    On February 22, 2021, VHA acknowledged receipt of the FOIA request and

assigned the FOIA request the tracking number 21-03677-F (copy included as Attachment G).

        34.    The same day, VHA asked via email for clarification regarding Item 1, namely

whether the request sought information specific to veterans and/or veterans and employees. On

February 22, 2021, Plaintiffs clarified to VHA that they seek information on both veterans and

employees.

        35.    On February 23, 2021, the Office of General Counsel (“OGC”) sent notification

that Items 5 and 6 of the FOIA were referred to the OGC FOIA Office with tracking number 21-

03734-F (copy included as Attachment H).

        36.    Pursuant to 5 U.S.C. §552(a)(6)(A)(i), VHA was obligated to respond to Plaintiffs’

request within twenty (20) business days. The deadline for disclosure of non-exempt records

responsive to Items 5 and 6 expired on March 22, 2021. OGC has not responded as to Items 5 and

6.

        37.    On February 24, 2021, VHA informed BVP and NVCLR that Items 1-4 were

referred to the Office of Resolution Management, Diversity & Inclusion (“ORMDI”) under

tracking number 21-03737-F (copy included as Attachment I).



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       38.     On March 18, 2021, ORMDI provided an initial agency decision for Items 1-4

(copy included as Attachment J). In response to Item 1, ORDMI provided the number of formal

Equal Employment Opportunity complaints at VHA stations and issued a “no records” response

with regard to complaints at VHA Community Based Outpatient Clinics and Veterans Centers. In

response to Item 2, the ORDMI provided weblinks to a policy statement and two directives. For

Item 3, ORMDI issued a “no records” response but identified a record that could be responsive

that was located on an ORMDI computer. The record was forwarded to the VHA FOIA Office for

review, with tracking number of 21-03677-F. For Item 4, ORMDI provided a weblink to a VA

policy statement and a list of training materials that were used in trainings provided to VHA

employees related to racial bias and discrimination in 2021.

       39.     On April 14, 2021, VHA provided its initial agency decision for Items 1-4, which

included a “no records” response to Items 1 and 2 (copy included as Attachment K). It also issued

a “no records” response to Item 3, but provided the record that ORMDI identified as potentially

responsive to the request. It provided one excel spreadsheet in response to Item 4.

       40.     On April 24, 2021, Plaintiffs appealed ORMDI’s initial agency decision as

inadequate for Items 1-4. Pursuant to 5 U.S.C. § 552(a)(6)(A)(ii), ORMDI had 20 business days

from April 24, 2021, or until May 21, 2021, to respond to Plaintiffs’ appeal. On April 26, 2021,

ORMDI acknowledged receipt of the appeal.

       41.     On May 3, 2021, Plaintiffs appealed VHA’s initial agency decision as inadequate

for Items 1-4. Pursuant to 5 U.S.C. § 552(a)(6)(A)(ii), VHA had 20 business days from May 3,

2021, or until May 28, 2021, to respond to Plaintiffs’ appeal. On May 3, 2021, VHA acknowledged

receiving the appeal.




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       42.      On June 23, 2021, an OGC attorney emailed plaintiffs regarding Items 1-4 (FOIA

request 21-03677-F), stating that the agency would not be responding to the plaintiffs’ requests

“exactly as presented.” The OGC attorney stated that the agency would be able to provide “at least

some accurate numbers” for aggregate discrimination data from the VA Office of Information and

Technology (“OIT”).

       43.      On July 1, 2021, the same OGC attorney emailed Plaintiffs again regarding Items

1-4. The attorney stated that the agency had gathered some aggregate data which would be

responsive to Plaintiffs’ request.

       44.      On July 7, 2021, VHA issued a final administrative decision as to Items 1-4,

denying Plaintiffs’ appeal (copy included as Attachment L).

       45.      VHA failed conduct a reasonable search for records responsive to Items 1-4.

       46.      For instance, in the appeal decision, VHA acknowledged that the FOIA officer

“neither searched nor coordinated a search” of all databases with records potentially responsive to

Items 1-4. VHA declined to search VISN or facility-level records or systems of records, as FOIA

requires.

       47.      Moreover, with regard to Item 1, VHA did not explain why it could not break down

the 1,057 complaints of unspecified discrimination by year and VHA facility, as requested. As to

Item 3, VHA continues to rely on its partial referral to ORMDI, and stated that it otherwise relied

only on a national database that did not record race discrimination claims specifically to “identify

possible sources of patient discrimination concerns which might have led to a separate

investigation.” VHA provided no further explanation as to the reasonableness of this search

method.




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        48.      In explaining its denial of Plaintiffs’ Item 4 appeal, VHA has stated that its search

of the TMS database used the terms “race,” “racial,” “bias,” and “discrimination,” but did not

explain why it failed to use other search terms reasonably likely to identify responsive records,

such as “racism,” “systemic racism,” “prejudice,” or “harassment.”

        49.      VHA also withheld employee names in email addresses in records produced in

response to Item 4. These partial withholdings were improper, as a lawful balancing of the personal

privacy interests and public interest in disclosure under Exemption 6, on which VHA relied,

demonstrates.

                                            BVA Request

        50.      On Tuesday, March 30, 2021, BVA acknowledged receipt of the FOIA request and

assigned the FOIA request the tracking number 21-03747-F (copy included as Attachment M).

        51.      BVA was obligated by statute to respond to Plaintiffs’ request within twenty (20)

business days. This deadline expired on March 22, 2021. BVA has produced no response.

                                      CLAIMS FOR RELIEF

        52.      Plaintiffs repeats and incorporates every allegation contained in paragraphs 1 – 51

as if set forth here in full.

        53.      Defendant’s failure to notify Plaintiffs within twenty days (excepting Saturdays,

Sundays, and legal public holidays) of whether it will comply with their requests violated

Plaintiffs’ rights to records under 5 U.S.C. §552(a)(6)(A)(i).

        54.      Defendant’s failure to affirmatively disclose policy statements and interpretations,

administrative staff manuals and instructions that affect a member of the public, violated Plaintiffs’

rights under 5 U.S.C. §552(a)(2)(B-D).




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       55.     Defendant’s failure to release responsive, non-exempt records violated Plaintiffs’

right to those records under 5 U.S.C. § 552(a)(3)(A).

       56.     Defendant’s failure to make a reasonable search for responsive records violated

Plaintiffs’ rights under 5 U.S.C. § 552(a)(3)(C).

                                    REQUESTED RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:

   1. Order Defendants to conduct a reasonable search for records responsive to their requests;

   2. Order Defendants to disclose and release the requested records in their entireties;

   3. Order Defendants to grant a full fee waiver to Plaintiffs;

   4. Provide for expeditious proceedings in this action;

   5. Award Plaintiffs costs and reasonable attorney’s fees in this action;

   6. Grant any other and further relief the Court deems appropriate.


Dated: July 8, 2021
New Haven, CT

                                              Respectfully submitted,

                                              By: /s/ Michael J. Wishnie
                                              Matthew Handley, Law Student Intern*
                                              Ryan Liu, Law Student Intern*
                                              Melanie McGruder, Law Student Intern*
                                              Angela L. Zhang, Law Student Intern*
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                                              *Motion for law student appearance forthcoming

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                            ** Motion for admission forthcoming

                            Counsel for Plaintiffs




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